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 7

 8                                 UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         CASE NO. 2:16-CR-00025-TLN
12                                    Plaintiff,       STIPULATION REGARDING EXCLUDABLE
                                                       TIME PERIODS UNDER SPEEDY TRIAL
13                            v.                       ACT; FINDINGS AND ORDER
14   PEDRO FUENTES,                                    DATE: May 17, 2018
                                                       TIME: 9:30 a.m.
15                                   Defendant.        COURT: Hon. Troy L. Nunley
16

17                                              STIPULATION

18         1.      By previous order, this matter was set for status on May 17, 2018.

19         2.      By this stipulation, the defendant now moves to set the matter for a Change

20 of Plea hearing on June 14, 2018, and to exclude time between May 17, 2018, and June 14,

21 2018, under Local Codes T2 and T4.

22         3.      The parties agree and stipulate, and request that the Court find the

23 following:

24                 a)      The government has represented that the discovery associated with

25         this case includes several hundred pages of investigative reports and hours of

26         recorded phones calls from five different cellular telephones. All of this discovery

27         has been produced directly to counsel.

28                 b)      Counsel for the defendant desires additional time review the expansive


      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND   1
      ORDER
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 1         discovery in this case; conduct investigation related to the discovery; consult with

 2         his client with respect to the charges, evidences, and proceedings; and otherwise

 3         prepare for sentencing mitigation.

 4                 c)      Counsel for the defendant believes that failure to grant the above-

 5         requested continuance would deny counsel the reasonable time necessary for

 6         effective preparation, taking into account the exercise of due diligence.

 7                 d)      The government does not object to the continuance.

 8                 e)      Based on the above-stated findings, the ends of justice served by

 9         continuing the case as requested outweigh the interest of the public and the

10         defendant in a trial within the original date prescribed by the Speedy Trial Act.

11                 f)      For the purpose of computing time under the Speedy Trial Act, 18

12         U.S.C. § 3161, et seq., within which trial must commence, the time period of May

13         17, 2018 to June 14, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§

14         3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

15         by the Court at defendants’ request on the basis of the Court’s finding that the ends

16         of justice served by taking such action outweigh the best interest of the public and

17         the defendant in a speedy trial.

18                 g)      Additionally, an exclusion of time under 18 U.S.C. § 3161(h)(7)(B)(ii)

19         (Local Code T2) is appropriate given the complexity of this case involving ten

20         defendants and five wiretapped cellular telephones.

21         4.      Nothing in this stipulation and order shall preclude a finding that other

22 provisions of the Speedy Trial Act dictate that additional time periods are excludable from

23 the period within which a trial must commence.

24         IT IS SO STIPULATED.

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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND   2
      ORDER
            Case 2:16-cr-00025-TLN Document 215 Filed 05/14/18 Page 3 of 3


1 Dated: May 11, 2018                  McGREGOR W. SCOTT
                                       United States Attorney
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3                                      /s/ JUSTIN L. LEE
                                       JUSTIN L. LEE
4                                      Assistant United States Attorney
5

6 Dated: May 11, 2018                  /s/ TODD D. LERAS (as authorized on 5/11/2018)
                                       TODD D. LERAS
7
                                       Counsel for Defendant
8                                      Pedro Fuentes

9

10                                       FINDINGS AND ORDER

11        IT IS SO FOUND AND ORDERED this 14th day of May, 2018.

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15                                                         Troy L. Nunley
                                                           United States District Judge
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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND   3
     ORDER
